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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


Criminal Action No. 1:22-cr-00113-CMA-GPG

UNITED STATES OF AMERICA,

     Plaintiff,

v.

DEBRA CAMPBELL,

     Defendant.



           VOLUNTARY SURRENDER ORDER SUPPLEMENTING JUDGMENT


         The Judgment imposed on November 8, 2022, directed Defendant to surrender to the
institution designated by the United States Bureau of Prisons for service of sentence. The
United States Bureau of Prisons has designated the FMC Carswell. Accordingly,
         IT IS ORDERED that Defendant, Debra Campbell, shall surrender herself by reporting
to the Warden at the FMC Carswell, Naval Air Station, J Street, Building 3000, Fort Worth,
Texas on November 29, 2022, by 12:00pm.
Travel will be at her own expense.


         DATED: November 17, 2022

                                         BY THE COURT:



                                         CHRISTINE M. ARGUELLO
                                         Senior United States District Judge
